Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.341 Page 1 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.342 Page 2 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.343 Page 3 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.344 Page 4 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.345 Page 5 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.346 Page 6 of 7
Case 2:07-cr-00178-FVS   ECF No. 85   filed 08/06/08   PageID.347 Page 7 of 7
